         Case 2:07-cr-20044-JWL                  Document 37            Filed 04/25/07          Page 1 of 1

DJW/ll

                             IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                                                        Plaintiff,

v.                                                                         Case No. 07-20044-01/02-JWL-DJW

ERNESTO HERNANDEZ-OLMOS, et al.,

                                                        Defendants.

                     ORDER OF DETENTION OF MATERIAL WITNESS
                          ULISES MANUEL REYES-HERRERA

                                                     FINDINGS

         In accordance with 18 U.S.C. §3144 and 18 U.S.C. § 3142(f), a detention hearing has been

held. The following facts and circumstances require the detention of the witness Ulises Manuel

Reyes-Herrera pending his appearance in connection with a court proceeding or his deposition in

this case:


         Because Immigration and Customs Enforcement plans to deport the witness unless
         he is detained, there are no conditions that will ensure his appearance.


         This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.

§ 3142(g) as stated on the record in open court at the detention hearing.


                                    DIRECTIONS REGARDING DETENTION

          The witness Ulises Manuel Reyes-Herrera is committed to the custody of the Attorney General or his
designated representative for confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal. The witness shall be afforded a reasonable
opportunity for private consultation with counsel. On order of a Court of the United States or on request of an attorney
for the government, the person in charge of the corrections facility shall deliver the witness to the United States marshal
for the purpose of an appearance in connection with a Court proceeding or his deposition.


Date: April 25, 2007                                              s/ David J. Waxse
                                                                  DAVID J. WAXSE
                                                                  UNITED STATES MAGISTRATE JUDGE
